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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


UNITED STATES, et al.,                               Civil Action No. 2:24-cv-04055 (JXN)(LDW)

                     Plaintiffs,

          v.                                             ORDER GRANTING PRO HAC VICE
                                                          ADMISSION OF ELIOT TURNER
APPLE INC.,
                                                                  Filed Electronically
                     Defendant.



          THIS MATTER having been brought before the Court by non-party Garmin

International, Inc.. (“Garmin”) by and through its attorneys, Norton Rose Fulbright US LLP, for

the entry of an Order admitting Eliot Turner as counsel pro hac vice, pursuant to Local Civil

Rule 101.1(c); and the Court having considered the supporting Certifications; and there being

no opposition to this application; and for good cause shown;

          IT IS on this 16th day of December, 2024,

          ORDERED that Garmin International, Inc.’s application for pro hac vice admission of

Eliot Turner is hereby GRANTED; and it is further

          ORDERED that Eliot Turner is hereby admitted pro hac vice pursuant to Local Civil

Rule 101.1 for the sole purpose of entering an appearance on behalf of and representing Garmin

International, Inc., in this matter; and it is further

          ORDERED that Eliot Turner shall abide by the disciplinary rules of this court; and it is

further

          ORDERED that Eliot Turner shall, for the duration of time that he serves as counsel pro

hac vice in this matter, make annual payments to the New Jersey Lawyers’ Fund for Client

Protection as provided by New Jersey Court Rule l:28-2(a) for each year in which he is
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admitted to appear in this matter, and shall pay the sum of $250.00 to the Clerk of the United

States District Court in accordance with Local Civil Rule 101.1(c)(3); and it is further

        ORDERED that Eliot Turner shall notify the Court immediately of any matter affecting

his standing at the bar of any jurisdiction; and it is further

        ORDERED that Eliot Turner is deemed to consent to the appointment of the Clerk of

the Court as the agent upon whom service of process may be made for all actions against counsel

that may arise from counsel’s participation in this matter;

        ORDERED that Eliot Turner shall have all pleadings, briefs and other papers filed with

the Court in this matter signed by Mayling C. Blanco or her associates or partners as the

attorneys of record in this matter pursuant to Local Civil Rule 101.1(c)(3), who shall appear at

all proceedings and be responsible for the conduct of the cause and counsel in this matter




                                                    HON. LEDA DUNN WETTRE, U.S.M.J.
